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       EXHIBIT “A”
            Case 2:22-cv-00547-MJH Document 90-1 Filed 07/04/23 Page 2 of 37




September 5, 2022

VIA EMAIL
bwebb@cozzalaw.com

Benjamin D. Webb
Cozza Law Group PLLC
400 Holiday Drive, Ste 210
Pittsburgh, PA 15220


                 Re:    Renee Zinsky vs. Michael Russin et. al
                        2:22-cv-00547-MJH
                        For Settlement Purposes Only Pursuant to Fed.R.Civ.P. 408
Dear Ben:
        Please allow this correspondence to follow up on our conference with Judge Horan on September
1 . Judge Horan stated, in no uncertain terms, that it would be in your client’s best interest to make a
 st

good faith attempt to resolve this matter at this time. More specifically, Judge Horan stated that, based on
her review of this case, she was “appalled” by your client’s conduct and couldn’t “believe that anyone
could be so brash” given his ongoing exposure in this case. She went on to explain that Mr. Russin
continues to “shoot himself in the foot” which “makes the Plaintiff’s case for her”. Judge Horan went
so far as to state that if Mr. Russin does not settle this matter near term, he will have “more problems than
this lawsuit” and risks “extensive exposure with significant damages” going forward. The Judge asked
you to “get your client under control” and declared that his behavior “would not be tolerated” by the
Court.
       For those reasons, Judge Horan stated that she would not be mandating ADR at this time. Instead,
the Court recommended that Plaintiff provide a settlement demand to all of the Defendants in this case. I
have copied counsel for the other Defendants hereto.

       To           I                                           ff                  to           De
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     (                                            n’s           nts),                             n
adjust to               te
       I.                 ts’        g,             g                t
       Before addressing Plaintiff’s demand, I would like to take this opportunity to elaborate on Judge

                                                        1
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Horan’s concerns with regard to Mr. Russin’s ongoing conduct. Incredibly, within two days following the
Court’s comments and instructions, Mr. Russin continued to conduct himself in the same reprehensible
manner. For example, on September 3, 2022, Mr. Russin published a podcast titled How to Be a Closer,
Fuel for the Fire, and False Gospel Preachers. At that time, Mr. Russin made a variety of statements
(presumably related to closing sales) in a brash, appalling, and aggressive manner to include the following:

   •   I’ve always been a closer. I’m not tooting my own horn. It’s just a fact … It doesn’t matter
       what it is … closing in business and in life are the same. Everything in life is closing … If
       you’re a man … you got to close a woman.
   •   Closing is such an essential skill in life… You can’t be a dog, especially as a man and not
       know how to close.
   •   At the end of the day, whoever it is, a woman, bank teller, loan officer, girl across from you at
       the bar… the first thing they are buying is you … People are animals.
   •   I got a guy that works at one of my organizations … This guy can smell when women are
       ovulating.
   •   I can tell you right now, there’s no human being on this planet that can take me out of the
       game … when they see you go through massive amounts of adversity and still come out on top,
       they want to drag you right down into the pit … they have such low self-worth that they can’t
       stand to see people win … They don’t have the balls to go out and win … You gotta grab and
       pull him back down … in this bucket of misery and shit with us.
   •   So when someone else becomes so focused on you that they want to take you out of the game
       and you just keep going out and working and winning… like our recruiting company just had
       its biggest week ever … we built a million dollar a year business within 6 months.
   •   Keep denting me, go ahead… bounce me around, beat me up .... I love it. I have a sick
       relationship with pain. It makes me so much better… Thank you haters! Haters make me
       greater!
   •   But you don’t want to hyper fixate on that … Then you start feeding your dark side too much...
       That’s when you want to lash out. That’s when you do something that you shouldn’t do.
   •   You can’t jeopardize the rest of your life over a hater… You go to jail for felonious assault.
   •   I’m not strong enough. I’m not good enough. We are all inherently wicked.
   •   It’s not that I’m not good enough. I’m not good all.
   •   I’ve struggled with this a lot in the past couple of months… I feel worse now than I ever have
       in my life … I am more convicted and disgusted with myself now than I have ever been in
       my entire existence on this planet.
   •   The process of sanctification … it never ends … Because when you remove the big sins, you
       just become aware of the medium ones… Like … I’m not having sex with a bunch of people
       or doing drugs … or cheating on my wife … Then you become violently aware of the small
       things … You should feel worse than you ever have in your life … you should be remorseful.
   •   Please donate. Please help us.

        Similarly, on the same day (September 3, 2022), Mr. Russin posted a photograph of himself with
the caption “War Ready” on social media. Of course, these statements are no different than Mr. Russin’s
other public statements such as “Money Grubbing Whores” (referencing women who claim sexual assault

                                                     2
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and sexual harassment), “I do everything fast, even cummies”, or “Vax this Dick” but they are even more
shocking and remarkable given the timing, i.e. days following Judge Horan’s clear and direct reprimand
of said conduct.
        There are multiple witnesses who will testify that these types of comments are, and continue to be,
typical for Mr. Russin in the AIL office and at other AIL work settings for years, including the past 6
months. The witnesses will testify that Mr. Russin’s recent comments are often followed by even more
brash statements such as “What are you going to do about it, fire me?” As you may know, Mr. Russin
has voluntarily published the same statements over the past six (6) months in other capacities.

        These are merely the “highlights” of Mr. Russin’s most recent brash and appalling conduct. As
you know from Plaintiff’s Amended Complaint, there are droves of similar vulgar, misogynistic,
aggressive, and violent comments and conduct on behalf of Mr. Russin in his capacity as an agent of AIL
and Arias Agencies over the years. Although Mr. Russin’s conduct is perhaps the most vile and egregious
that I am aware of, make no mistake… there are just as many examples of other male agents’ depraved
conduct that will be evidence of the toxic and hostile work environment which Defendants have subjected
Plaintiff to over the past 3.5 years. Of course, the extensive list of witnesses (including Mr. Russin’s wife,
Geneva Russin), documents, texts, photographs, videos, and other evidence will be shared over the course
of discovery near term.
        As you may know, AIL acknowledged Mr. Russin’s appalling conduct by allegedly attempting to
terminate his contract on or about February 2022. AIL’s counsel referred to the alleged termination as a
“remedial measure” resulting from AIL’s investigation of Plaintiff’s claims of sexual harassment. Yet,
unbelievably, Mr. Russin continues to work on behalf of AIL through present. Mr. Russin performs
professional services on behalf of AIL, receives income from AIL, works out of the same AIL office1,
manages and attends AIL meetings, and continues to manage the same team of AIL agents as he did prior
to his alleged termination. Typically, I would assume that you are already aware of these facts. Given
your recent inquiries about Mr. Russin’s conduct2, however, I wanted to be sure to clarify any such
confusion with all defense counsel. Defendants’ ongoing inability to provide Plaintiff with a safe working
environment was clearly reflected by Judge Horan’s concerned comments about the “escalating” nature
of Defendants’ exposure.
       Whether Defendants refer to Mr. Russin as a “consultant”, “contractor”, or otherwise, it is of no
matter since he continues to function as an agent on behalf of the Defendants, and in a leadership role at
that … just as he did during his daily drug and alcohol abuse, just as he did during countless episodes of
sexual harassment, just as he did during his felonious criminal charges and convictions, and just as he did
during an involuntary commitment to a mental health facility. All of which occurred publicly while Mr.
Russin was hired, employed, retained, and celebrated as a high-ranking leader by Simon Arias and AIL.
       Based on Plaintiff’s employment experience alone, Defendants’ inability to provide a safe work
environment was not a mere oversight, but rather a choice. Perhaps the most blatant example is that
nothing has actually changed since AIL admitted to Mr. Russin sexually harassing Plaintiff and then

1
 AIL and/or Arias Agencies’ Portland, Maine office.
2
 Contrary to your representations, this there is a significant amount of evidence to support Plaintiff’s claims that Mr. Russin’s private conduct is just as vile
and offensive as his public “persona”.

                                                                                3
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misrepresenting Mr. Russin’s termination as a “remedial measure”. Similarly, Plaintiff’s complaints of
sexual harassment and insurance fraud were concealed by Defendants for at least four months after being
reported to Simon Arias. And, for an additional five months, Globe Life and AIL continued to recognize
Mr. Russin and Mr. Arias with “leadership” awards and generous incomes … all the while Plaintiff was
traumatized and completely unable to work. What is more, Globe Life and the Defendants never even
bothered to interview Plaintiff in connection with the alleged investigation of her documented reports of
insurance fraud. What is more, that doesn’t even address the experiences of numerous other witnesses
who will testify to eerily similar experiences while working for the Defendants.
              II.                                          d

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                     A. B
        Based on Plaintiff’s performance as an Agent and Supervising Agent in 2019, comparablemaleagents’
compensation, Defendants’ promises to Plaintiff, and applicable laws, Plaintiff should have been promoted to
MGA status in late November 20193. B u t f o r t h e D e f e n d a n ts ’ m i s c o n d u c t , P l a i n t i f f
w o u l d h a v e successfully worked in the capacity of MGA for a couple of years, and then progress to a
Regional General Agent position. In other words, she
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        Please feel free to reach out should you have any questions or concerns. Otherwise, I look forward
to hearing from you once you have an opportunity to confer with your client(s).


                                                                         Sincerely,


                                                                         /s/ Amy N. Williamson




cc:          Jean Novak, Esq. (on behalf of Simon Arias III, S.A. Holdings, LLC, and Arias Agencies)
             Anne Dana, Esq. (on behalf of American Income Life Insurance Company)




                                                                                  5
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     EXHIBIT "B"
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                                                                     Amy Williamson <awilliamson@awilliamsonlaw.com>



Mr. Russins ongoing conduct and exposure
3 messages

Amy Williamson <awilliamson@awilliamsonlaw.com>                                                  Thu, Dec 22, 2022 at 11:06 PM
To: Benjamin Webb <bwebb@cozzalaw.com>

 Hi Ben,

 As you know, ever since my client filed suit, Mr. Russin continues to publish threats and use intimidation tactics against
 her. I have cited to some of them in court pleadings. In response, Judge Horan admonished Mr. Russin and you directly,
 warning you that he is creating exponential exposure for himself as a result. In fact, she stated that this civil case would
 be the least of his concerns if he continues his “brash” and “appalling” conduct. What is more, Judge Horan has only
 seen a small fraction of your client’s conduct. Yet, Mr. Russin remains as brash and appalling as ever.

 Yesterday, you asked me for an extension of time to produce Mr.Russins discovery responses to include responses to
 RFPD, interrogatories and RFA. Appreciating the potential volume of information and documents, I agreed to an
 extension with a new deadline of tomorrow, 12/23.

 Ironically enough, tonight Mr. Russin posted the attached photo and message on his instagram page. You will see that
 he states that his cigar is for a “dear old friend… getting a big batch of presents tomorrow.”

 I am sure you will continue to take the position that these posts are not about my client but rather another “dear friend” or
 some other nonsense. When you take a step back and take a look at the timing of all of these posts in conjunction with
 the developments in the litigation and my clients claims, I feel confident that any juror (let alone Judge Horan) will see
 right through those defenses.

 I will be meeting with my client over the holidays to discuss next steps but out of respect for you, I wanted to give you a
 heads up that your client’s appalling conduct is creating ongoing exposure for him on many levels.

 Thanks,
 Amy
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        EXHIBIT “C”
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Transcript of Reneé Margaret
           Zinsky
                       Date: January 13, 2023
                     Case: Zinsky -v- Russin, et al.




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                                                          Transcript of Reneé Margaret Zinsky                                    1 (1 to 4)

                                                                   January 13, 2023
                                                                      1                                                                       3
1               IN THE UNITED STATES DISTRICT COURT                        1                  A P P E A R A N C E S
2            FOR THE WESTERN DISTRICT OF PENNSYLVANIA                      2    ON BEHALF OF THE PLAINTIFF:
3     - - - - - - - - - - - - -x                                           3         AMY N. WILLIAMSON, ESQUIRE
4    RENEE ZINSKY,                     :                                   4         WILLIAMSON LAW LLC
5                 Plaintiff,           :                                   5         Law and Finance Building
6       v.                             :    Civil Action No.               6         429 Fourth Avenue, Suite 300
7    MICHAEL RUSSIN, RUSSIN            :    2:22-cv-547                    7         Pittsburgh, Pennsylvania 15219
8    FINANCIAL, RUSSIN GROUP,          :                                   8         (412)932-2744
9    SIMON ARIAS, III, ARIAS           :                                   9
10   AGENCIES, S.A. ARIAS              :                                   10   ON BEHALF OF THE DEFENDANTS:
11   HOLDINGS, LLC, AMERICAN           :                                   11        BENJAMIN D. WEBB, ESQUIRE
12   INCOME LIFE INSURANCE             :                                   12        ROCCO E. COZZA, ESQUIRE
13   COMPANY,                          :                                   13        COZZA LAW GROUP PLLC
14                Defendants.          :                                   14        400 Holiday Drive
15    - - - - - - - - - - - - - -x                                         15        Suite 210
16                                                                         16        Pittsburgh, Pennsylvania 1220
17              Deposition of RENEÉ MARGARET ZINSKY                        17        (412)790-2789
18                    Pittsburgh, Pennsylvania                             18
19                    Friday, January 13, 2023                             19
20                              9:22 a.m.                                  20
21                                                                         21
22                                                                         22
23    Job No.: 476914                                                      23
24    Pages: 1 - 168                                                       24
25    Reported By: Amelia Bowlen, FAPR, RDR, CRR, CRC                      25



                                                                      2                                                                       4
1       Deposition of RENEÉ MARGARET ZINSKY, held at                       1                            C O N T E N T S
2    the offices of:                                                       2
3                                                                          3    EXAMINATION OF RENEÉ MARGARET ZINSKY            PAGE
4                                                                          4      By Mr. Webb                                      5
5               COZZA LAW GROUP PLLC                                       5
6               400 Holiday Drive                                          6      TIME ON THE RECORD:      3 hours 8 minutes
7               Suite 210                                                  7
8               Pittsburgh, Pennsylvania 1220                              8                            E X H I B I T S
9               (412)790-2789                                              9                      (Attached to transcript.)
10                                                                         10    NUMBER                                          PAGE
11                                                                         11     Exhibit 1     Text messages: Russin00139,       44
12                                                                         12                   00140, 00142, 00143, 00144,
13                                                                         13                   00145, 00149, 00151, 00152,
14      Pursuant to notice, before Amelia Bowlen,                          14                   00154, 00156, 00157, 00161,
15   Registered Diplomate Reporter, Certified Realtime                     15                   00163, 00170, 00172, 00177,
16   Reporter, and Notary Public in and for the                            16                   00178, 00189
17   Commonwealth of Pennsylvania.                                         17     Exhibit 2     Messages, Russin00102 - 00103     58
18                                                                         18     Exhibit 3     Video                            115
19                                                                         19     Exhibit 4     Russin00012 - 00013              129
20                                                                         20     Exhibit 5     Zinsky000001                     132
21                                                                         21     Exhibit 6     Video, Russin00052               135
22                                                                         22     Exhibit 7     Video, Russin00048
23                                                                         23     Exhibit 8     Video, Russin00051               140
24                                                                         24     Exhibit 9     Video, Russin00055               143
25                                                                         25




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                                     Transcript of Reneé Margaret Zinsky                                   29 (113 to 116)

                                              January 13, 2023
                                                        113                                                            115
1 say you don't know.                                         1     A Okay.
2    A No, I don't know. I don't know.                        2     Q I'm just going to pull it up.
3    Q Did you have lunch?                                    3       MR. WEBB: These were videos that I think
4    A Yeah, probably, yeah.                                  4 you provided us during initial disclosures, Amy,
5    Q Do you know what you had for lunch?                    5 just for your knowledge.
6    A Probably either Taco Bell or Jersey Mike's             6       (Zinsky Deposition Exhibit 3 was marked
7 or Jimmy John's. You know, those are the local              7 for identification and is attached to the
8 places we always ordered from.                              8 transcript.)
9    Q Did you report this incident to the                    9     Q Is this from the date of that incident,
10 police?                                                    10 this video? I don't think there's any sound with
11 A No, like I wanted to -- I wanted to keep                 11 this, but I'll turn it up anyway.
12 my job.                                                    12      (Video playing.)
13 Q Did you treat at the hospital for this                   13 A Maybe, maybe.
14 incident?                                                  14 Q Do you know who took that video?
15 A On the -- like two days after, I think, a                15 A It might have been one of my friends,
16 day or two after, I went to the hospital, yes,             16 Matt, slash colleague.
17 because I still was not feeling okay.                      17 Q Who is Matt?
18 Q Did they run tests?                                      18 A Matt Mamros, he was another colleague of
19 A I believe so.                                            19 mine.
20     MS. WILLIAMSON: If you know. If you don't              20 Q How do you spell the last name?
21 know, that's fine.                                         21 A M-a-m-r-o-s.
22 A I don't know for sure.                                   22 Q Okay. Why would he have taken you to the
23 Q Which hospital was it?                                   23 hospital?
24 A UPMC Passavant.                                          24 A Because I think we were riding out
25 Q Was there a tox report done, toxicology                  25 together to go to appointments, and I told him I
                                                        114                                                            116
1 report?                                                     1 didn't feel good so we -- like I still wasn't
2     A I don't know.                                         2 feeling good and I was not okay, and he said,
3       MR. WEBB: I assume that would be in the               3 let's go to the hospital. So he came with me
4 UPMC records once we're able to get them.                   4 because he was already in my car.
5       MS. WILLIAMSON: I mean, I don't -- yeah.              5     Q Did anyone tell you that Mike administered
6       MR.  WEBB: I still don't have those                   6  GHB   to you in March 2020?
7 authorizations, by the way.                                 7     A No.
8       MS. WILLIAMSON: I was actually going to do            8       MR. COZZA: And this hospital visit was two
9 them here, but we'll get them to you either -- the          9 days after the incident you're claming, correct?
10 signed verification and authorizations.                    10      THE WITNESS: A day or two. I don't know
11      MR. WEBB: I can print and you can sign them           11 for sure. It was within a day or two.
12 if that works.                                             12      MR. WEBB: I just want to see if I have any
13      THE WITNESS: That's fine.                             13 more related to the car rides and then we can take
14      MS. WILLIAMSON: We can do them here. It               14 like a 15-minute break, Amy, if that's okay with
15 doesn't matter, but I haven't seen them, to answer         15 you.
16 your question.                                             16      MS. WILLIAMSON: I'm sorry. I thought you
17 BY MR. WEBB:                                               17 were asking her, yeah.
18 Q To your knowledge, what were you diagnosed               18      MR. WEBB: Okay.
19 with?                                                      19      MS. WILLIAMSON: Whatever you want to do,
20 A I wasn't really -- I don't even think -- I               20 Reneé. I mean, unless if it's easier for you to
21 don't know if I was diagnosed with anything. They          21 keep going, then we can keep going.
22 gave me fluids, and I don't know.                          22      MR. WEBB: I kind of just need a quick break
23 Q I'm going to show you a video. I just                    23 to just go and get refreshed, if that's okay. We'll
24 want you to tell me whether this is from that              24 be quick.
25 hospital visit.                                            25      MR. COZZA: I believe in your Complaint you
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    EXHIBIT "D"
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        EXHIBIT “E”
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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

RENEE ZINSKY,                                        Civil Action No. 2:22-cv-247-MJH
          Plaintiff,
     v.                                              Judge Horan

MICHAEL RUSSIN, et al.,

              Defendant.                             JURY TRIAL DEMANDED

                           AFFIDAVIT OF MATTHEW MAMROS
       I, Matthew Mamros, hereby state the following:
       1.     I am a former insurance agent for American Income Life Insurance Company and
Arias Agencies.
       2.     I worked with Plaintiff, Renee Zinsky, and Defendant, Michael Russin.

       3.     I have firsthand knowledge of facts relevant to this matter.

      4.       On or about March 8, 2023, Defendant Russin threatened me via Instagram
messenger stating as follows:

              Are you prepared for violence?
              ...
              All this time you spend at 2am sending emails – do you ever think of the
              safety of your children?
              ...
              Oh no wait this isn’t the old hag
              ...
              This is the young liar


       I declare under penalty of perjury that the following is true and correct.




       Date: 05/02/2023
                                              Matthew Mamros
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                             VIRGINIA ACKNOWLEDGMENT

                                                                   )
State of Virginia                                                  )
County of    Roanoke                                               )

On 05/02/2023               before me, Alexander Luis Marin                                              ,
            Date                                                    Notary Name

personally appeared                                  Matthew Mamros
                                                    Name(s) of Signer(s)

❑   personally known to me -- OR --

❑   proved to me on the basis of the oath of                                                  -- OR --
                                                 Name of Credible Witness
❑   proved to me on the basis of satisfactory evidence:     Driver License
                                                                       Type of ID Presented
to be the individual(s) whose name(s) is (are) subscribed to the within instrument, and
acknowledged to me that he/she/they executed the same in his/her/their authorized capacity(ies)
and by proper authority, and that by his/her/their signature(s) on the instrument, the individual(s),
or the person(s) or entity upon behalf of which the individual(s) acted, executed the instrument for
the purposes and consideration therein stated.

                                       WITNESS my hand and official seal.

                                      Notary Public Signature:
                                      Notary Commission Number: 7871785
                                      Notary Commission Expires: 08/31/2024
                                      Notarized online using audio-video communication




DESCRIPTION OF ATTACHED DOCUMENT
Title or Type of Document: AFFIDAVIT OF MATTHEW MAMROS
Document Date:        05/02/2023                   Number of Pages (w/ certificate): 2
Signer(s) Other Than Named Above:


Capacity(ies) Claimed by Signer(s)                      Capacity(ies) Claimed by Signer(s)
Signer’s Name:      Matthew Mamros                      Signer’s Name:


❑   Corporate Officer Title:                            ❑       Corporate Officer
                                                                                Title:
❑ Partner – ❑ Limited ❑ General                         ❑ Partner – ❑ Limited ❑ General
❑ Individual ❑ Attorney in Fact                         ❑ Individual ❑ Attorney in Fact
❑ Trustee      ❑ Guardian of Conservator                ❑ Trustee      ❑ Guardian of Conservator
❑ Other:                                                ❑ Other:
Signer Is Representing:                                 Signer Is Representing:
              Matthew Mamros

                                               (    2       )
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   EXHIBIT "H"
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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

RENEE ZINSKY,                                          Civil Action No. 2:22-cv-247-MJH
          Plaintiff,
     v.                                                Judge Horan

MICHAEL RUSSIN, et al.,

              Defendant.                               JURY TRIAL DEMANDED

                                AFFIDAVIT OF EMILY GARRETT
       I, Emily Garrett, hereby state the following:
   1. I was employed by American Income Life Insurance Company (“AIL”) in the capacity of a sales

agent from August 2018 to August 2019, approximately.

   2. In my capacity as an AIL sales agent, I worked for Russin Financial and Arias Agencies.

   3. In that capacity, I reported up to Michael Russin and Simon Arias.

   4. Soon after I signed my agent contract and began working for AIL, I discovered that AIL controlled

all aspects of my work including but not limited to my schedule, hours, and manner in which I performed

my work as a sales agent on behalf of AIL.

   5. In my capacity as a sales agent for AIL, I worked in a highly toxic, misogynistic, and often violent

working environment as an AIL sales agent.

   6. For example, I quickly discovered that there were zero females in management or leadership

positions at AIL, Arias Agencies, and/or Russin Financial.

   7. For example, I witnessed unwelcomed sexual comments and unwelcomed sexual contact from

AIL’s male leaders such as Michael Russin toward subordinate female agents on a frequent basis.

   8. On multiple occasions, Michael Russin sent me sexual, lewd, and offensive messages while

working in his capacity as my supervisor and a leader on behalf of American Income Life Insurance

Company, Arias Agencies, and Russin Financial.
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    9. Michael Russin would typically refer to females as “sluts”, “whores”, and “bitches”.

    10. AIL’s top leaders such as Simon Arias knowingly maintained a toxic workplace by rewarding and

encouraging male leaders such as Michael Russin in light of their openly offensive conduct such as sexual

harassment, sexual assault, and fraud.

    11. Male leaders such as Simon Arias and Michael Russin threatened subordinate agents against

retaining legal counsel and/or otherwise attempting to speak up and/or report their misconduct.

    12. On or about May 2023, I spoke up publicly about the toxic work environment that I experienced

while working for AIL, Arias Agencies, and Russin Financial.

    13. Approximately one week later, I received violent threats which I believe were sent, caused, or

otherwise directed by Michael Russin.



        I declare under penalty of perjury that the following is true and correct.


             6/1/2023
        Date:___________                       _____________________________
                                               Emily Garrett




State of Texas, Williamson County




                          Signed on 06/01/2023 by
                                               Emily Elizabeth Garrett




                                                                      Notary Public, State of Texas


                      Notarized online using audio-video communication
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       EXHIBIT "I"
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 June 11, 2023


 Benjamin D. Webb, Esq.
 Cozza Law Group PLLC
 4000 Holiday Drive, Suite 210
 Pittsburgh, PA 15220
 bwebb@cozzalaw.com

 SENT VIA EMAIL


                  Re:      Zinksy v. Russin et al.
                           No. 2:22-cv-547
                           Plaintiff’s Fourth Supplemental Discovery Responses

Dear Mr. Webb,

Please allow this correspondence to supplement Plaintiff’s discovery responses in the above referenced matter.

Plaintiff’s Fourth Supplemental Answer to Defendant Russin’s Interrogatory No. 2:

In addition to the witnesses previously identified in Plaintiff’s Initial Disclosures and discovery responses, Plaintiff identifies
the following 51 witness who have knowledge of facts relevant to Plaintiff's claims pending against Defendant Russin. (The
witnesses with an * indicates that they are clients of Williamson Law LLC.) More specifically, the additional witnesses are
as follows:

    1. Kailey Andrasko*                                    27.      Michael Manna
    2. Ky Andrew                                           28.      Sophia Menelle *
    3. Erin Antoncic*                                      29.      Brooke Miller
    4. Jeanine Barlettano*                                 30.      Genna Miller
    5. Michael Barlettano*                                 31.      Jordan Miller*
    6. Dominic Bertini                                     32.      Jocelyn Morose*
    7. Janeen Bonnay*                                      33.      Ashley Morton*
    8. Tiffany Brianna                                     34.      Ted Mrkonja
    9. Sarah Bunting*                                      35.      Jean Novak
    10. Anna Carley                                        36.      Ryan Ohm
    11. Bernadette Casciato                                37.      Ryleigh Palmer*
    12. Joseph Crivelli                                    38.      Ryan Parrish
    13. Christa Davis*                                     39.      Peter Reichert
    14. Scott Dehning*                                     40.      Calene Rogers*
    15. Tristan Dlabik                                     41.      Alyssa Sadler
    16. Matt Ficarra*                                      42.      Ashley Seddon
    17. Emily Garrett*                                     43.      Suna Shaw

                                                                                                                                 1
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    18. Lee Ann Heffley*                                  44.        Linette Silverthorne
    19. Chatiqua Hemingway*                               45.        David Strassburger
    20. Brittany Ketner                                   46.        Katie Thompson
    21. Michelle Kruse                                    47.        Laura Toney
    22. Gabrielle Kolar*                                  48.        Tyler Turner
    23. Erica Laughlin                                    49.        Alyssa Weston
    24. Corey Lemos*                                      50.        Susan Antilla
    25. Tyler Lindquist*                                  51.        Emily Cook*
    26. Morgan Luptak

Plaintiff’s Fourth Supplemental Response to Defendant Russin’s Request For Production No. 2:

Plaintiff produces 23 additional video recordings via Google Drive relevant to Plaintiff's claims against Defendant Russin.
The link to access those files is as follows:
https://drive.google.com/drive/folders/1Zq2MQZxXU3OtBcmsBQwWegL5VUITOZA1?usp=drive_link

Specifically, those 23 video recordings are identified as follows:

        1. 64k Per Week                                   13.        Dlabik Culture Chant
        2. AIL Cancun 2023                                14.        Dlabik Dissect Your Personal Life
        3. Arias Boxing Gloves                            16         Dlabik It Will Cost You Everything
        4. Jackson 74k Month                              17.        Dlabik There’s No Reason
        5. Arias Not a Job a Lifestyle                    18.        Dr. Parrish
        6. Arias The Edge                                 19.        Globe Life Legacy Award 2022
        7. Arias Workout                                  20.        Jackson Dlabik Celebration
        8. Cornhole Agency Meeting                        21.        Job Description
        9. Dlabik Be a Lion                               22.        Nemacolin Arias Executive Counsel    2022
        10. Dlabik Be a Patriarch                         23.        You Not a Man?
        11. Dlabik Blue Collar
        12. Dlabik Bribing College Dropouts
        13. Dlabik Cause I Failed

In addition, Plaintiff identifies all Absideon Achievement podcast episodes and other social media content as published by
Defendant Russin to date and ongoing, as well as 11 additional video recordings and documents located at the below
referenced website links:

1. Business Insider, Inside The Tawdry, Drug-fueled, Violent World of America’s Top Life Insurance Salesman, February
   24, 2023
   https://www.insider.com/globe-life-insurance-lawsuit-american-income-arias-agency-toxic-workplace-2023-1

2. Business Insider, Globe Life Fallout After Allegations of Sexual Assault, March 10, 2023
   https://www.insider.com/globe-life-fallout-after-allegations-of-sexual-assault-arias-agency-2023-3

3. Businesswire, Investigation Alert: Scott + Scott Attorneys at Law LLP Investigates Globe Life Inc.’s Directors and
   Officers for Breach of Fiduciary Duties – GL, February 23, 2023
   https://www.businesswire.com/news/home/20230227005945/en/INVESTIGATION-ALERT-ScottScott-Attorneys-at-
   Law-LLP-Investigates-Globe-Life-Inc.%E2%80%99s-Directors-and-Officers-for-Breach-of-Fiduciary-Duties-
   %E2%80%93-GL

4. Carey & Associates, P.C., The Worst Sexual Harassment Case Ever!, March 10, 2023
   https://capclaw.com/the-worst-sexual-harassment-story-ever/
                                                                                                                              2
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5. Globe News Wire, GL Alert: Johnson Fistel is Investigating Potential Claims on Behalf of Globe Life Inc., March 2,
   2023
   https://www.globenewswire.com/news-release/2023/03/02/2619654/0/en/GL-Alert-Johnson-Fistel-is-Investigating-
   Potential-Claims-on-Behalf-of-Globe-Life-Inc.html

6. Insurance Newsnet, Author: Financial Services Often “A Barbaric Culture” That Worships Money, March 3, 2023
   https://insurancenewsnet.com/innarticle/author-financial-services-often-a-barbaric-culture-that-worships-money

7. OpenPR, Investigation Announced for Investors in Shares of Globe Life Inc. (NYSE: GL), March 7, 2023
   https://www.openpr.com/news/2963434/investigation-announced-for-investors-in-shares-of-globe-
   life#:~:text=An%20investigation%20was%20announced%20over%20potential%20securities%20laws,mail%40sharehol
   dersfoundation.com%20or%20call%20%2B1%20%28858%29%20779%20-%201554.

8. Stanford Law School, Lawsuit Against American Income Life Alleges Sex Abuse, Hard Drugs, Fraud at Top Agency,
   February 28, 2023
   https://law.stanford.edu/press/lawsuit-against-american-income-life-alleges-sex-abuse-hard-drugs-fraud-at-top-agency/

9. WPXI, Federal Lawsuit Filed Against Wexford Life Insurance Company, June 1, 2023
   https://www.wpxi.com/news/local/federal-lawsuit-filed-against-wexford-life-insurance-
   company/E7VLBV53LZF67FWJ6D2BLK5IQ4/#:~:text=Channel%2011%20also%20reached%20out%20to%20its%20
   parent,aware%20of%20any%20criminal%20investigations%20against%20the%20company

10. WTAE, Lawsuit Alleges Fraud, Sexual Abuse and Illicit Drugs at Wexford Insurance Agency
    https://www.wtae.com/article/arias-agencies-wexford-insurance-allegations-drugs-sexual-abuse/43980886

11. Yahoo News, Federal Lawsuit Alleging Sexual Assault, Drug Use Filed Against Wexford Life Insurance Company, June
    1, 2023
    https://news.yahoo.com/federal-lawsuit-filed-against-wexford-213419791.html

Finally, please see additional documents labelled as [ZINSKY001793 - ZINSKY002237] produced at the Google Drive link
noted above. Please let me know if you have any issues accessing same.



                                                        Sincerely,

                                                        /s/Amy N. Williamson, Esq.




           429 Fourth Ave. Ste. 300, Pittsburgh, Pennsylvania 15219 |awilliamson@awilliamsonlaw.com                        3
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      EXHIBIT "K"
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      EXHIBIT "L"
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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

RENEE ZINSKY,                                       Civil Action No. 2:22-cv-247-MJH
          Plaintiff,
     v.                                             Judge Horan

MICHAEL RUSSIN, et al.,

              Defendant.                            JURY TRIAL DEMANDED

                           AFFIDAVIT OF CHATIQUA HEMINGWAY
      I, Chatiqua Hemingway, hereby state the following:
   1. I am a professional female boxer.

   2. I live and work in the Pittsburgh, Pennsylvania area.

   3. Between 2020 and March 2023, I was a member of the Board of Directors for a charity known as
      Steel City Impact (“SCI”).

   4. Between August 2020 and March 2023, I worked for Simon Arias (“Arias”) as a personal trainer.

   5. In my capacity as a board member for SCI and trainer for Arias, I worked closely with Arias in
      Arias Agencies and American Income Life Insurance Company (“AIL”) office located in Wexford,
      Pennsylvania (“Wexford Office”).

   6. Between August 2020 and March 2023, I was in the Wexford Office multiple times per week.

   7. Between August 2020 and March 2023, I also spent a lot of time with Arias outside of the office.

   8. Between August 2020 and March 2023, I had a close personal and professional relational
      relationship with Simon Arias.

   9. From August 2020 to March 2023, I developed relationships with Arias’ co-workers, Arias’
      friends, and Arias’ family members.

   10. I witnessed Arias and other male leaders such as Michael Russin (“Russin”) on behalf of AIL in
       countless work meetings, calls and other events both at the Wexford Office and at other work-
       related events.

   11. I have firsthand knowledge of a misogynistic, sexist, and toxic workplace culture at AIL and Arias
       Agencies which was driven by the AIL male leaders such as Arias and Russin.
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12. For example, AIL leaders such as Arias and Russin often made demeaning, sexist, perverted,
    offensive, and often angry comments to and about females both in the AIL workplace and
    otherwise.

13. For example, Arias would refuse to hire or promote females for reasons such “they talk too much”
    or “ask too many questions”.

14. The toxic workplace culture at Arias Agencies was also driven by Arias’ focus on grooming and
    recruiting minors on behalf of AIL, Arias Agencies, and SCI.

15. Arias would often lie, mislead, and manipulate minors to his personal and professional benefit.

16. Arias asked me to help him recruit minors. Specifically, Arias said he was looking for “cute
    young girls”, “good looking popular girls”, and asked me where he could find the “cutest young
    black girls in Pittsburgh.”

17. I have firsthand knowledge of Arias engaging in inappropriate sexual conversations and conduct
    with minors as young as 12 and 13 years old.

18. I voiced my concerns about Arias’ inappropriate conduct with minors to other SCI Board members
    and refused to help Arias recruit minors on behalf of SCI.

19. When Arias learned that I voiced concerns about his inappropriate conduct, Arias offered me
    $10,000.00 to step down from the SCI Board of Directors, which I refused.

20. After I refused Arias’ bribe, Arias retaliated against me by removing me from the SCI Board of
    Directors.

21. After I refused Arias’ bribe, Arias retained legal counsel (Strassburger, McKenna, Gutnik &
    Gefsky) in an attempt to intimidate, threaten and silence me from speaking the truth.

22. I have firsthand knowledge of AIL’s male leaders, including but not limited to Arias and Russin,
    engaging in intimidation tactics, threats, and violence in their capacity as AIL representatives.

23. I have firsthand knowledge of AIL’s male leaders, including but not limited to, Arias and Russin
    taking steroids and other illegal drugs in the office and/or at AIL work related events.
   I declare under penalty of perjury that the following is true and correct.


         05/17/2023
   Date:___________                       _____________________________
                                          Chatiqua Hemmingway
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                           TEXAS
 State/Commonwealth of_____________________                       )
                                                                  )
   City     County             Collin
                     of ______________________                    )

 On __________________,
       05/17/2023                         Monica Marie Hall
                        before me, _________________________________________ ,
             Date                                           Notary Name
    the foregoing instrument was subscribed and sworn (or affirmed) before me by:

                         Chatiqua Hemingway
 ________________________________________________________________________.
                           Name of Affiant(s)

  Personally known to me -- OR --

  Proved to me on the basis of the oath of _____________________________ -- OR --
                                               Name of Credible Witness
                                                                driver_license
  Proved to me on the basis of satisfactory evidence: ________________________________
                                                               Type of ID Presented




                                  WITNESS my hand and official seal.

                                  Notary Public Signature: _________________________

                                  Notary Name:__________________________________
                                                Monica Marie HallNotary Public, State of Texas
                                                             132786234
                                  Notary Commission Number:______________________
                                                              11/17/2024
                                  Notary Commission Expires:______________________
                                  Notarized online using audio-video communication



DESCRIPTION OF ATTACHED DOCUMENT

Title or Type of Document: ____________________________________________________
                            Affidavit for Chatiqua Hemingway

                     05/17/2023
Document Date: ________________________________
                                                       3
Number of Pages (including notarial certificate): _____________




                                                  3
